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               8                             UNITED STATES DISTRICT COURT

               9                     FOR THE EASTERN DISTRICT OF CALIFORNIA

              10                AND FOR THE NORTHERN DISTRICT OF CALIFORNIA

              11 MARCIANO PLATA, et al.,                               Case No. C01-1351-JST

              12               Plaintiffs,

              13         v.

              14 GAVIN NEWSOM, et al.,

              15               Defendants.

              16 RALPH COLEMAN, et al.,                                Case No. CIV-S-90-0520-KJM-DB

              17               Plaintiffs,

              18         v.

              19 GAVIN NEWSOM, et al.,

              20               Defendants.

              21 JOHN ARMSTRONG, et al.,                               Case No. C94-2307-CW
              22               Plaintiffs,
              23         v.
              24 GAVIN NEWSOM, et al.,

              25               Defendants.
              26                             NOTICE OF FILING OF RECEIVER’S
                                              FORTIETH TRI-ANNUAL REPORT
              27

              28 ///
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FUTTERMAN DUPREE
                                                               NOTICE OF FILING OF RECEIVER’S FORTIETH TRI-ANNUAL REPORT
  DODD CROLEY
                          U.S.D.C. N. DIST. CASE NO. C01-1351-JST, C94-2307-CW; E. DIST. CASE NO. CIV-S-90-0520-KJM-DB
    MAIER LLP
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               1 PLEASE TAKE NOTICE that the Receiver in Plata, et al. v. Newsom., et al., Case No. C01-

               2 1351-JST; Coleman, et al. v. Newsom, et al. Case No. CIV-S-90-0520-KJM-DB; and Armstrong,

               3 et al. v. Newsom, et al. Case No. C94-2307-CW has filed herewith his Fortieth Tri-Annual

               4 Report.

               5

               6 Dated: February 1, 2019                                FUTTERMAN DUPREE DODD CROLEY
                                                                        MAIER LLP
               7

               8                                                        By:      /s/ Martin H. Dodd
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               9                                                                 Attorneys for Receiver J. Clark Kelso
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Vision:

As soon as practicable, provide constitutionally adequate
medical care to patients of the California Department of
Corrections and Rehabilitation within a delivery system
the State can successfully manage and sustain.



Mission:

Reduce avoidable morbidity and mortality and protect
public health by providing patients timely access to safe,
effective and efficient medical care, and integrate the
delivery of medical care with mental health, dental and
disability programs.
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Section 1: Status and Progress Concerning Remaining Statewide Gaps

A. Reporting Requirements and Reporting Format

This is the fortieth report filed by the Receivership, and the thirty-fourth submitted by
Receiver J. Clark Kelso.

The Order Appointing Receiver (Appointing Order) filed February 14, 2006, calls for the Receiver
to file status reports with the Plata Court concerning the following issues:
    1. All tasks and metrics contained in the Turnaround Plan of Action (Plan) and subsequent
         reports, with degree of completion and date of anticipated completion of each task
         and metric.
    2. Particular problems being faced by the Receiver, including any specific obstacles
         presented by institutions or individuals.
    3. Particular success achieved by the Receiver.
    4. An accounting of expenditures for the reporting period.
    5. Other matters deemed appropriate for judicial review.
(Reference pages 2–3 of the Appointing Order at https://cchcs.ca.gov/wp-
content/uploads/sites/60/2017/08/2006-02-14 Order Appointing Receiver.pdf)

The Court’s March 27, 2014, Order Re: Receiver’s Tri-Annual Report directs the Receiver to
summarize in each Tri-Annual Report the level of care being delivered at California Health Care
Facility (CHCF); difficulties with recruiting and retaining medical staff statewide; sustainability of
the reforms the Receiver has achieved and plans to achieve; updates on the development of an
independent system for evaluating the quality of care; and the degree, if any, to which custodial
interference with the delivery of care remains a problem.

The Receiver filed a report on March 10, 2015, entitled Receiver’s Special Report: Improvements
in the Quality of California’s Prison Medical Care System wherein he outlined the significant
progress in improving the delivery of medical care in California’s prisons and also the remaining
significant gaps and failures that must still be addressed. The identified gaps are availability and
usability of health information; scheduling and access to care; care management; and health care
infrastructure at facilities.

To assist the reader, this Report provides two forms of supporting data:
    • Appendices: This Report references documents in the Appendices of this Report.
    • Website References: Website references are provided whenever possible.

In support of the coordination efforts by the three federal courts responsible for the major health
care class actions pending against California Department of Corrections and Rehabilitation
(CDCR), the Receiver files the Tri-Annual Report in three different federal court class action cases:
Armstrong, Coleman, and Plata. An overview of the Receiver’s enhanced reporting
responsibilities related to these cases and to other Plata orders filed after the Appointing Order

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can be found in the Receiver’s Eleventh Tri-Annual Report on pages 15 and 16.
(https://cchcs.ca.gov/wp-content/uploads/sites/60/2017/08/T11 20090601 11thTriAnnualReport.pdf)

Court coordination activities include: facilities and construction; telemedicine and information
technology; pharmacy; recruitment and hiring; credentialing and privileging; and
space coordination.

B. Progress during this Reporting Period

Progress towards improving the quality of health care in California’s prisons continues for the
reporting period of September 1 through December 31, 2018, and includes the following:

   (i)       Office of the Inspector General
As of the filing of this report, the Office of the Inspector General (OIG) has completed or initiated
medical inspections at all 35 institutions for Cycle 5. The OIG issued final reports for Calipatria
State Prison (CAL), California Institution for Men (CIM), Deuel Vocational Institution (DVI), and
California State Prison, Sacramento (SAC). CAL received an adequate rating, and CIM, DVI and
SAC received inadequate ratings. The OIG expected to commence Cycle 6 in January 2019;
however, in December 2018, California Correctional Health Care Services (CCHCS) was notified
that Cycle 6 is delayed.

    (ii)   Delegations
As of the filing of this report, the Receiver has delegated to CDCR authority for the medical
operations at 19 institutions. Meet-and-confer meetings were held on September 26, 2018;
October 23, 2018 (Prison Law Office [PLO]); October 25, 2018 (State); November 27, 2018 (PLO);
November 28, 2019 (State); and January 8, 2019. During this reporting period, the Receiver
delegated California State Prison, Corcoran (COR) on October 22, 2018. Monitoring of institution
performance for all 19 delegated sites continues to ensure sustainability. The remaining three
meet-and-confer meetings that were scheduled through April 2019 for California State Prison,
Los Angeles; Mule Creek State Prison (MCSP); and Salinas Valley State Prison (SVSP) have been
cancelled and are not being rescheduled at this time.

    (iii)    Armstrong
All parties in the Armstrong case continue to refine a joint audit tool to measure compliance
components of the case. An issue resolution process was developed and implemented to
facilitate finalization of a joint audit tool. The process includes a mechanism to address
unresolved concerns between the Office of Audits and Court Compliance, plaintiffs’ counsel,
CDCR, CCHCS, and the Court Expert. During the December 19, 2018, meeting with plaintiffs’
counsel and the Court Expert, all parties agreed to suspend joint audit efforts until approximately
June 2019, pending the completion of a final audit tool.

On September 4, 2018, Corrections Services, in collaboration with Division of Adult Institutions
(DAI) and Division of Adult Parole Operations, successfully implemented an Allegation Log
Tracking System (ALTS) to track and report Disability Placement Program (DPP) and

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Developmental Disability Program (DDP) allegations of staff non-compliance. ALTS reports
replaced the manual spreadsheet reporting for all newly reported allegations of non-compliance.
ALTS offers efficient, customized reporting capabilities and the ability to store historical
allegation data indefinitely.

Field Operations staff continue to focus efforts on effective communication (EC) improvements.
Enhancements included launching an Americans with Disability Act (ADA)/EC Patient Summary
page within the Electronic Health Records System (EHRS). The ADA/EC Patient Summary provides
an easily accessible summary listing health care concerns relating to the Armstrong, Coleman,
and Clark court injunctions and will assist staff in determining any EC requirements relative to
health care encounters. This page is accessible for all EHRS users and displays the most current
information regarding the patient’s DPP codes, DDP codes, housing restrictions and
accommodations, primary and secondary methods of communication, Test of Adult Basic
Education (TABE) score, Learning Disability, Limited English Proficiency and primary language,
any Durable Medical Equipment (DME) issued, and the patient’s current mental health level
of care.

Efforts to eliminate DME discrepancies are underway statewide. On November 6, 2018, Valley
State Prison (VSP) completed an institution-wide physical inventory of DME. Richard J. Donovan
Correctional Facility (RJD) undertook the physical reconciliation of DME on November 27, 2018.
Each of the remaining institutions completed a physical reconciliation during the week of
January 7, 2019, and discrepancies will be resolved in early 2019.

    (iv)   Women’s Health
The Women’s Health Program, in conjunction with CCHCS Medical Services, Nursing Services,
Quality Management, and Pharmacy Services developed systems to track data related to
contraceptive use, pursuant to California Penal Code, section 3409. New EHRS orders and
Powerforms have been created to track access to family planning and contraceptive counseling
services with implementation planned shortly. A Dashboard metric will also be included to
measure family planning services. An update to the contraceptives included in the CCHCS
Formulary will be made in 2019, following analysis of contraceptive use among the
female population.

On October 11, 2018, University of California, San Francisco (UCSF), provided on-site clinical
training at California Institution for Women (CIW). The training focused on serious illness and
population aging in the correctional setting, advance care planning, decision-making capacity,
prognostication and cognitive impairment, and dementia. The training was previously offered at
Central California Women’s Facility (CCWF) in August 2018.

Upon completion of the UCSF report, entitled Assessing Medical Bed Utilization among Women
in the CDCR, the Women’s Health Program began developing new, cost-effective levels of care
for the patient population. An assessment was conducted to review health care needs of the
women at CCWF in conjunction with the availability of outside health care services, and it was
recommended to change the institutional medical designation from basic to intermediate.

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Pursuant to Penal Code, section 6500, the Women’s Health Program also recommended that
women in CDCR adult institutions have enhanced access to sexual barrier protection in order to
achieve equity with men, to be consistent with international health and law enforcement
recommendations, and to prevent the transmission of sexually transmitted infections. CCHCS
convened a workgroup to complete a literature review and compile the recommendations made
by the Women’s Health Program. The CCHCS work product has been shared with CDCR’s DAI,
and coordination is currently underway to determine next steps.

The Women’s Health Program continues to track sterilizations to ensure medical necessity, and
the 2018 annual report was posted to the CCHCS website. (https://cchcs.ca.gov/wp-
content/uploads/sites/60/Reports/MNS2018.pdf)

    (v)     Electronic Health Records System
The EHRS was successfully implemented at all institutions statewide as of November 2017. The
remaining functionality includes solutions which will reduce paper processes and simplify the
delivery of medical information. CCHCS continues to work with external providers to implement
Cerner Direct and Resonance functionality. This functionality will provide CCHCS the capability
to utilize Health Insurance Portability and Accountability Act (HIPAA) compliant secure electronic
communication to send and receive patient data from the EHRS. Staff will be able to select
documents from the patient’s chart, along with the transition of care referral summary, to send
to external providers who also utilize the Cerner system.

     (vi)   Substance Use Disorder
The Receiver recently directed staff to develop and implement a Medication Assisted Treatment
(MAT) program which will address the substantial number of patients within CDCR who have
substance and/or opioid use disorders, initially focusing on those patients who are at the highest
risk for overdose. Substance Use Disorder (SUD) is a complex chronic health condition involving
dopamine dysregulation in the brain that controls reward and motivation and can lead to
uncontrollable cravings, continued substance use and other aberrant behaviors, which
contributes to permanent disability, premature death, and other adverse consequences for
afflicted individuals, families, and communities. In recent years, Opioid Use Disorder (OUD) is
the primary SUD associated with increases in fatal and non-fatal overdose nationally, in
California, and CDCR. It is estimated that the prevalence of SUD among the CDCR population is
approximately 80 percent (100,000 patients) and that at least 26 percent (26,000 patients) of
patients with SUD have OUD.

Currently, the Division of Rehabilitation (DRP) offers behavior therapies to all CDCR institutions
through various independent contractors. Although most of the behavioral therapy services
delivered by the contractors are based on models that have been shown to be effective in specific
groups of patients if implemented as intended, the reliability and effectiveness of these
treatments within CDCR is unknown. Additionally, the current SUD treatment model used by
DRP is not based on the chronic care model; instead the treatment duration is only five months
and current available treatment capacity is less than 12,000 individuals per year.


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The proposed MAT program will involve long-term combination therapy with medications and
behavior interventions best delivered in an integrated health care setting using interdisciplinary
teams who take care of their patients through the continuum of care. This approach will provide
greater opportunity to ensure reliability, effectiveness and efficiency in the delivery of clinical
treatments, which in turn allows better cost control and promotes positive outcomes including
decreases in relapse, fatal and non-fatal overdoses, abnormal behaviors within the prison setting
and recidivism.

SUD treatment would continue after release from CDCR custody, and coordination with external
stakeholders has begun. On November 27, 2018, the Receiver convened a Treating Substance
Use Disorder External Stakeholder Summit. Attendees included executives from CDCR and
CCHCS and representatives from the Legislature, PLO, universities, county probation,
Department of Health Services, jails, Oregon Department of Corrections, Department of State
Hospitals, CDCR Ombudsman Office, California Prison Industry Authority, Board of Nursing,
Statewide Inmate Family Council, Legislative Analyst’s Office, Department of Finance, Coleman
experts, former Governor Brown’s office, Department of Public Health, and OIG. The purpose
was to meet with key stakeholders and provide an opportunity to respond to CCHCS/CDCR’s plan
to ensure access to care for patients with SUD during high-risk transitions. Additionally, the
Summit was held to identify best practices, opportunities and leverage points to improve care
during transitions; define key themes gathered from stakeholders input that will inform ongoing
program development; and establish ongoing collaboration and communication with partners
involved with caring for patients with SUD. During this reporting period, CCHCS and CDCR also
created an educational video regarding the dangers of opioids and access to the MAT program,
which will begin showing on a repeated feed at Reception Centers.

    (vii) Treatment for Hepatitis C Virus
A new class of medication called direct acting antiviral (DAA) agents was released to the market
in 2014, vastly improving the treatment of chronic hepatitis C virus (HCV). At that time, CCHCS
began to use the DAA medications focusing first on identifying and treating patients with the
most advanced liver disease. From 2014 to 2018, approximately 4,000 patients were treated for
HCV. After seeking to increase the numbers of patients treated, CCHCS received additional
funding to treat over 6,600 patients in Fiscal Year (FY) 2018–19. As of January 2019, over 3,400
patients have been treated, primarily using a headquarters-based Central Team of telemedicine
providers. The cure rate to date is 97.5 percent, which is slightly better than the cure rate in
the community.

As the Central Team continues to identify and treat the subset of patients with the most
advanced liver disease (HCV Risk Group 1), plans have begun to transition treatment to the
primary care teams which is a more sustainable treatment model and is consistent with
treatment trends in the community. The Central Team HCV Subject Matter Experts have been
providing education and training to institutions’ primary care teams with the goal to have the
treatment of the majority of HCV patients (HCV Risk groups 2 and 3) occur at the institution
beginning spring 2019. Nursing Services is currently developing processes and pathways to


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implement a care coordination model which will allow nursing staff to assist in the screening and
ongoing follow-up of these patients.

    (viii) Healthy/Wellness Living Initiative
CCHCS in conjunction with CDCR is developing the Healthy/Wellness Living Initiative program.
This program will include a structured exercise program and a formalized dietary education
component to coincide with the healthy canteen initiative. The program’s intent is to educate
the prison population on living a healthy lifestyle that includes nutrition and exercise. The
program will be available to the entire population on a voluntary basis and will allow participants
to earn Rehabilitative Achievement Credits. The CCHCS and CDCR are currently compiling a
campaign of videos and posters to recruit, educate, and motivate patients about exercise.
Additionally, these will give nursing staff and providers a tool to refer patients to the program.
California Medical Facility (CMF) has been selected to test the program which will be initiated
during Third Watch. CMF is planning for a 12-week program with each week offering different
educational structures such as diabetes care, dietary, low impact cardio, warm-up, stretches,
circuit training, and some element of game (e.g., basketball). Week 12 will include a celebration
of successes and participants will receive certificates. Upon completion, the participants will earn
54 hours which is 2 more hours than is required to reduce their sentence by one week.

C. Particular Problems Faced by the Receiver, Including Any Specific Obstacles Presented by
   Institutions or Individuals

    (i)     In-State and Out-of-State Contracting for Community Correctional Facilities
Included in the Governor’s Budget for FY 2019–20, is a reduction of $21.7 million in anticipation
of all inmates at La Palma Correctional Facility (LPCC) in Arizona being transferred back to
California. As of December 28, 2018, the total out-of-state correctional facility patient population
was 1,987 or 99.35 percent of the budgeted capacity of 2,000. During this reporting period, a
limited review audit report for LPCC was published, reflecting improvement in two out of three
components previously rated inadequate.

As of December 28, 2018, the total patient population housed at seven in-state contracted
facilities is 3,842 or 93.37 percent of the budgeted capacity of 4,115. During this reporting period,
four annual audit reports for the in-state contracted facilities were published. One facility
received a proficient rating, two facilities received adequate ratings, and one facility (McFarland
Female Correctional Re-entry Facility) received an inadequate rating. CCHCS also conducted four
limited review audits of in-state contracted facilities. In addition, CCHCS conducted a re-audit at
McFarland Female Correctional Re-entry Facility. The previous audit resulted in an inadequate
rating and it was found that the facility faced several challenges providing adequate health care
to the patient population. As a result, this facility was temporarily closed to intake to provide the
administration an opportunity to make the necessary adjustments in staffing to ensure adequate
levels of health care are provided.




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    (ii)   Transportation Vehicles
As of December 24, 2018, 52 health care designated vehicles were on-site at the Prison Industry
Authority retrofit facility located at the California State Prison, Solano (SOL). Of those 52 vehicles,
14 have been retrofitted and are ready to be placed into service. In addition, 12 para-transit
(ADA) vehicles were ordered and of these 6 are currently in service. The FY 2018–19 Budget
Change Proposal (BCP) submitted by CDCR for health care vehicles is divided into two parts:
replacements and additions. The Fleet Acquisition Plan (FAP) was approved by Department of
General Services on December 21, 2018, and the Office of Business Services has begun the
purchasing process for the assets itemized on that FAP, beginning with 47 additions. The
estimated delivery date for the new vehicles to CDCR is May 2019. The remaining allocated funds
from the FY 2018–19 BCP will be exhausted on replacement vehicles.

   (iii)     Health Care Infrastructure at Facilities
Several sub-projects were activated during this reporting period. The more notable activations
include the new Reception Center Health Care Processing Clinic and addition to C yard primary
care clinic at CIM; renovation and addition to existing Central Health Services Building, renovation
and addition to general population clinic, and renovation of Support Care Unit Clinic at CIW;
renovation of Unit IV-Medication Rooms of V-Wing at CMF; renovation of Specialty Clinic at
MCSP; renovation and addition to A yard primary care clinic at RJD; renovation of A yard
medication distribution room at VSP; new primary care clinic on C yard at Correctional Training
Facility (CTF); and renovations of B and D yard primary care clinics at SVSP.

The following chart indicates the original baseline completion date, the previously reported
revised completion date, and the further revised completion date as of December 31, 2018.
Every project is showing a delay from the previous reporting period for construction completion.
Not including the five institutions that will have scope shift changes from General Contractor to
inmate ward labor, the greatest delay is at Pelican Bay State Prison (PBSP) which is 457 days.

           Baseline                    August 31,       2018              December 31, 2018
           Construction                Revised Construction               Revised     Construction
           Completion Date             Completion Date                    Completion Date
 VSP       January 27, 2016            June 17, 2019                      November 12, 2019
 SAC       November 7, 2016            March 1, 2019                      May 31, 2019
 CMF       February 10, 2017           June 14, 2019                      October 24, 2019
 DVI       March 21, 2017              October 31, 2018                   January 31, 2019
 HDSP      April 17, 2017              August 22, 2019                    January 30, 2020
 CCI       May 1, 2017                 August 16, 2019                    October 29, 2019
 RJD       May 26, 2017                April 22, 2019                     April 30, 2019
 WSP       June 19, 2017               October 18, 2019                   December 25, 2019
 NKSP      July 4, 2017                May 24, 2019                       September 19, 2019
 SATF      July 28, 2017               January 2, 2019                    August 30, 2019
 COR       July 31, 2017               October 7, 2019                    February 11, 2020
 CTF       September 18, 2017          May 31, 2019                       November 30, 2021
 SVSP      September 20, 2017          September 10, 2018                 February 1, 2019
 CIM       September 26, 2017          December 24, 2019                  January 31, 2021
 CCC       October 16, 2017            October 1, 2019                    January 31, 2021
 SOL       November 6, 2017            July 21, 2020                      August 24, 2020

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 SCC       December 14, 2017         October 14, 2019                   October 31, 2021
 FOL       December 21, 2017         November 29, 2019                  June 16, 2020
 CMC       December 22, 2017         February 10, 2020                  February 12, 2020
 KVSP      January 13, 2018          September 4, 2019                  January 16, 2020
 CCWF      February 16, 2018         November 13, 2019                  February 18, 2020
 PVSP      March 30, 2018            June 28, 2019                      October 31, 2020
 PBSP      August 9, 2018            June 3, 2019                       September 2, 2020
 ISP       February 19, 2019         November 21, 2019                  July 31, 2020
 CVSP      February 28, 2019         September 22, 2020                 October 15, 2020
 CAL       June 15, 2019             June 6, 2020                       August 25, 2020
 CEN       September 1, 2019         March 20, 2020                     September 21, 2020


As referenced in Section 2(F) below regarding Consultant Staff Engaged by the Receiver, the
Receiver entered into a consulting services contract with an experienced project manager to
examine reasons for the continuing project delays in HCFIP and to make recommendations for
solutions to reduce further delays.

With the completion of CIW’s Health Care Facility Improvement Program space, the modular
medical clinic that was contracted to be built for swing space at CIW will be placed at California
Rehabilitation Center to address space deficiencies at that institution until a more permanent
solution can be implemented. Due to this relocation, the site plans had to be revised which will
delay the clinic opening until mid-2019.

   (iv)     Temporary Closure of Salinas Valley State Prison’s Correctional Treatment Center
Out of an abundance of caution, the CDCR Secretary and Receiver made the decision to close the
ten-bed, licensed Correctional Treatment Center at SVSP which provides inpatient care. Recent
events suggested potential issues with established care coordination and treatment.
Headquarters and regional teams will work with SVSP to complete an evaluation of the systems
of care, care coordination, communication, and inpatient safety processes. Appropriate
improvements to the system(s) will be made based on that evaluation before the facility is
reopened to patients. SVSP will continue to provide outpatient health care services to those
housed at SVSP.

    (v)      Ducating and Refusals at California State Prison, Sacramento
During a site visit at SAC in November 2018, the PLO reported discovering a significant percentage
of patients they interviewed, who had been documented as refusing medical appointments,
reported that they had never received a priority ducat for their appointment and that the
ducating and refusal processes seemed to have broken down. This report was disturbing for
many reasons, not the least of which is that SAC was the subject of Special Review regarding
ducating and refusal practices at SAC. That Special Review, which took place on May 25-26, 2017,
found that in two of the three facilities at SAC, ducats were not regularly being delivered to
patients the day before appointments as required by statewide and local policies. In addition,
physicians and nurses were calling patients to medical appointments based on medical
prioritization instead of the time called for by the priority ducat. As a consequence, patients were


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frequently called to medical appointments at unexpected times which increased refusal rates.
The Special Review Memorandum, dated June 21, 2017, contained the followed conclusions
(p. 3-4):

       Overall, the number of refusals for medical, mental health, dental, and specialty services
       at CSP-SAC are much higher than most institutions. On Facility A, the mental health refusal
       rate averages approximately 50%, the medical refusal rate is approximately 25%, and the
       dental refusal rate is approximately 15%. The high refusal rate seem to be caused due to
       the patient’s independent reasons for refusal, i.e., dislike of programs offered, refusals as
       leverage for transfer, aversion to group settings, and disdain for sitting in holding cells.
       The large Enhanced Out-Patient and Psychiatric Security Unit patient population on
       Facility A are known contributing factors to higher refusal rates. On Facilities B and C,
       custody staff are not consistently distributing health care priority ducats nor are they
       following the LOP as it pertains to the distribution of ducats and the requirements for
       patient refusals. . . .

       In all three facility clinics, on a daily basis the clinicians triage the patient ducat list to
       prioritize the order in which they will see each patient based upon the medical conditions,
       thereby circumventing the scheduled times on the priority ducats, causing long wait times,
       and increased patient refusals. While CCHCS agrees clinicians need the flexibility to make
       occasional changes to the order in which a patient is seen, the daily practice of
       circumventing the priority ducat times is not an acceptable practice.

As a result of the recommendations in the Special Review, Corrections Services, CCHCS,
conducted substantial training sessions at SAC for custody staff and reiterated to medical
providers the expectation that priority ducat times should be respected. As noted in the Special
Review, this issue was brought to the attention of SAC leadership (p. 5):

       The review team met with the Warden and Chief Executive Officer upon completion of the
       review and shared our observations. Both seemed very receptive and stated they will work
       to address the issues discovered. The audit team feels many of the issues discovered at
       CSP-SAC can be corrected with training and self-monitoring.

After learning of the PLO’s most recent finding in January 2019, the Receiver immediately
directed his executive staff to determine the nature and extent of the problem. The early reports
from the executive staff confirmed that the ducating process was not consistently followed. A
team was sent from headquarters to SAC to provide additional guidance and training regarding
proper handling of priority ducats and refusals.

It is the joint expectation of the CDCR Secretary and Receiver that SAC’s leadership will ensure
the ducating and refusal documentation processes at SAC conform fully with State and local
policies by the beginning of February 2019.



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While examining the issue of non-compliance with ducating and refusal policies, it has become
clear that a significant contributing factor to SAC’s ducating and refusal problem is the very large
number of mental health appointments scheduled per month and dysfunctional scheduling
practices that have apparently been adopted as a consequence. SAC houses approximately 2,200
inmates, about one-half of whom are patients in the mental health program. Every month,
around 23,500 health care ducats are issued which translates into the distribution of over 1,100
ducats every day of the work week. Approximately 80 percent of these ducats (i.e., 18,800) are
for mental health appointments. The remaining 4,700 appointments are split between medical
and dental. Due to the very high refusal rate at SAC for mental health appointments, a rate that
hovers around 50 percent, schedulers at SAC engage in substantial over- and double-booking of
mental health appointments (particularly group appointments) in an effort to get the Enhanced
Outpatient Program patients to the required 10 hours per week of structured treatment time.

The Special Master in Coleman documented in his most recent monitoring report the substantial
problems with attendance at mental health appointments at SAC, particularly with group
appointments. The observations in that monitoring report clearly have some connection to the
scheduling, ducating, and refusal problems that are present at SAC. To ensure effective
coordination, the Receiver has notified the Coleman Special Master regarding these initial
findings and determinations, and the Receiver will notify the Special Master of any additional
findings through the court coordination process.




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Section 2: Other Matters Deemed Appropriate for Judicial Review

A. California Health Care Facility – Level of Care Delivered

CHCF’s health care leadership remains focused on ensuring the delivery of quality health care
services to its patient population. CHCF is open to full admissions to General Population,
Enhanced Outpatient Program, Outpatient, Specialized Outpatient, Outpatient Housing Unit,
Correctional Treatment Center, and Dialysis levels of care. CHCF opened a 30-bed Palliative Care
Services Unit in July 2018 and had planned to open a 30-bed Memory Unit by the end of the 2018;
however, that has been delayed until February 2019. As of December 31, 2018, CHCF is at 90
percent capacity (2,649 current population; 2,951 capacity). As depicted in the December 2018
Human Resource Recruitment and Retention Report (Refer to Appendix 1), 28.5 of the 35
budgeted provider positions at CHCF are filled as follows:
    • Physician and Surgeon (P&S): 31 positions, 24.5 filled, 6.5 vacant
    • Nurse Practitioners: 1 position, 1 filled, 0 vacant
    • Physician Assistants: 3 positions, 3 filled, 0 vacant

As reflected in the December 31, 2018, Primary Care Provider Vacancy/Coverage Report (Refer
to Appendix 2), civil service telemedicine providers and contract registry providers are utilized to
deliver care at CHCF, which increases the coverage to 97 percent for providers.

B. Statewide Medical Staff Recruitment and Retention

CCHCS has made significant progress and substantially resolved the challenges present at the
beginning of the Receivership, which were outlined in the March 10, 2015, Special Report:
Improvements in the Quality of California’s Prison Medical Care System. Since that time, CCHCS
has developed strategies to adapt and respond to new challenges. Through frequent assessment
of staffing ratios, health care delivery models, and retention strategies, CCHCS has implemented
a series of flexible and continuously evolving solutions to ensure the delivery of quality health
care services to patients in a timely manner, through a stable provider workforce. The following
summarizes the continuous recruitment efforts during this reporting period:

•     Outreach was expanded to new media platforms and a streamlined hiring process. Since
      January 2018, CCHCS has hired 61 new physicians, with 13 hired into the Telemedicine
      Program, 6 hired at headquarters, and 42 hired at institutions. Nineteen new Advanced
      Practice Providers were hired, with 6 hired into the Telemedicine Program and 13 at
      the institutions.
•     With the success of the Telemedicine Program, in terms of both recruitment and health care
      delivery, the program was expanded to 53 primary care provider (PCP) positions. As of
      December 31, 2018, the current telemedicine provider workforce is 81 percent filled, with 8
      hires pending and 2 scheduled for interviews. Additional expansion is currently
      being assessed.



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•     The Educational Partnership Program provides medical students and residents training
      opportunities within the correctional setting. This marketing tool not only serves to expand
      CCHCS’ presence as a premier provider of health care through increased relationships with
      medical schools, but also exposes future potential candidates to career options within
      correctional health care for our PCP classifications. The program is on track to reach its
      projected expansion of 200 students/residents having rotated through CCHCS by 2020.
•     The 15 percent pay differential strategy was broadly implemented in July 2017 for 13
      institutions with historically hard-to-recruit missions or locations. Since that time, 42
      external hires have been made, an increase of 55.5 percent since the last report. As of
      December 31, 2018, 8 of the 13 institutions are staffed above 90 percent with civil service
      providers, 4 are staffed between 80 and 89 percent, and only 1 institution is staffed below
      80 percent. Additionally, all 13 institutions have experienced an increase in fill rates since
      July 2017. While the effort initially had a negative impact on some institutions, as existing
      physicians transferred to those sites offering additional compensation, the vacancies
      created have since been filled or have pending hires.
•     As an additional recruitment incentive, CCHCS is assessing the feasibility of a relocation
      assistance program as part of its centralized hiring initiative. Providing relocation assistance
      to new civil service PCP hires is consistent with hiring practices in the private sector and will
      assist CCHCS in remaining competitive within the labor market, as well as increase CCHCS’
      nationwide candidate pipeline.

The December 2018 Human Resource Recruitment and Retention Report (refer to Appendix 1),
which is CCHCS’ legacy reporting mechanism, only reports on-site civil service provider data and
depicts 43 percent of institutions (15 institutions) have achieved the goal of filling 90 percent or
higher of their civil service provider positions; 31 percent (11 institutions) have filled between 75
and 89 percent of their civil service provider positions, and 26 percent (9 institutions) have filled
less than 75 percent of their civil service provider positions. However, when on-site civil service,
telemedicine, and contract registry providers are utilized to deliver care statewide, coverage at
34 institutions is at or above 90 percent (refer to Appendix 2).

C. CCHCS Data Quality

The Receiver continues to assess the impact of the EHRS implementation on the integrity of data
presented in CCHCS performance reports and operational tools. As reported in the previous
Tri-Annual Report, CCHCS initiated a number of active interventions which continued during this
reporting period to improve data quality in areas currently considered problematic. The software
coding experts hired by the Receiver to independently assess the accuracy and integrity of the
Health Care Services Dashboard completed their review. From August through December 2018,
the experts continued reverse-engineering of the Dashboard reporting logic, examining software
modules that process information for specific Dashboard metrics. A report of findings and
recommendations is forthcoming.




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D. Coordination with Other Lawsuits

Meetings between the three federal courts, Plata, Coleman, and Armstrong (Coordination
Group) class actions have occurred periodically. A Coordination Group meeting took place on
November 8, 2018.

E. Master Contract Waiver Reporting

On June 4, 2007, the Court approved the Receiver’s Application for a more streamlined,
substitute contracting process in lieu of State laws that normally govern State contracts. The
substitute contracting process applies to specified project areas identified in the June 4, 2007,
Order and in addition to those project areas identified in supplemental orders issued since that
date. The approved project areas, the substitute bidding procedures, and the Receiver’s
corresponding reporting obligations are summarized in the Receiver’s Seventh Quarterly Report
and are fully articulated in the Court’s Orders, and therefore, the Receiver will not reiterate those
details here.

The Receiver used the substitute contracting process during this reporting period for new
Omnicell pharmacy contracts as part of a BCP to comply with federal regulations to account for
requirements in the accounting, storage, and dispensing of controlled substances. The new
Omnicell procurements under the waiver process were as follows:
 Vendor         Execution Date       Subject Area      Method             Agreement #   Type
 Omnicell       8/31/2018*           Pharmacy          Sole Source        18-00011      Contract
 Omnicell       12/26/2018           Pharmacy          Sole Source        18-00143      Contract
 Omnicell       12/26/2018           Pharmacy          Sole Source        18-00157      Purchase Order
 Omnicell       12/26/2018           Pharmacy          Sole Source        18-00158      Purchase Order
*This contract was not previously reported due to timing of its execution.

F. Consultant Staff Engaged by the Receiver

The Receiver did not engage any new consultant staff during this reporting period. However, in
January 2019, the Receiver entered into a contract with Sixth Dimension, for the provision of
consultant services related to HCFIP. The Receiver has engaged the services of Sixth Dimension
to achieve the following goals:
    1. Identify the areas/reasons causing project delays.
    2. Provide a method to accelerate projects currently behind schedule.
    3. Provide the Receiver an unbiased assessment of the conditions affecting the delays of
        the projects.
    4. Provide recommendations and more efficient methods to provide timely direction and
        quality review oversight to the HCFIP projects.

G. Accounting of Expenditures

    (i)    Expenses
The total net operating and capital expenses of the Office of the Receiver for the four month
period from September through December 2018 were $1,108,893 and $0.00 respectively. A

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balance sheet and statement of activity and brief discussion and analysis is attached
as Appendix 3.

    (ii)   Revenues
For the months of September through December 2018, the Receiver requested transfers of
$1,000,000 from the State to the California Prison Health Care Receivership Corporation (CPR) to
replenish the operating fund of the office of the Receiver. Total year to date funding for the
FY 2018–19 to CPR from the State of California is $1,275,000.

All funds were received in a timely manner.




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